  Case 2:18-cv-00375-SJO-FFM Document 22 Filed 07/10/18 Page 1 of 1 Page ID #:140

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.        CV 18-00375-SJO-FFM                                                  Date   July 10, 2018
 Title           Juan Pablo Chavez v. Bertelsmann SE and Co. KGaA et al




 Present: The                  JAMES OTERO, Judge presiding
 Honorable
                Victor Cruz                               Not Present
                Deputy Clerk                            Court Reporter                              Tape No.
            Attorneys Present for Plaintiffs:                       Attorneys Present for Defendants:
                       Not Present                                                   Not Present
 Proceedings:                 IN CHAMBERS

On 6/08/18, the Court issued and order requiring the Plaintiff to either file proofs of service in this
action on or before June 25, 2018, or allowing Plaintiff to serve and file an amended complaint
before that date. The Court advised Plaintiff that failure to comply will result in dismissal of this
action. Accordingly, Plaintiff having failed to comply, the Court Orders this matter dismissed.

JS-6



                                                                                                      :
                                                              Initials of Preparer                  vpc




CV-90 (06/04)                                CIVIL MINUTES - GENERAL                                         Page 1 of 1
